             NOTICE
                                      2024 IL App (5th) 230154-U                                                                                        NOTICE
 Decision filed 08/26/24. The
                                                                             This order was filed under
 text of this decision may be               NO. 5-23-0154                    Supreme Court Rule 23 and is
 changed or corrected prior to
                                                                             not precedent except in the
 the filing of a Petition for                  IN THE                        limited circumstances allowed
 Rehearing or the disposition of
                                                                             under Rule 23(e)(1).
 the same.
                                   APPELLATE COURT OF ILLINOIS

                               FIFTH DISTRICT
______________________________________________________________________________

PURGATORY CELLARS, LLC,                         )     Appeal from the
                                                )     Circuit Court of
      Plaintiff-Appellee,                       )     Lawrence County.
                                                )
v.                                              )     No. 20-LM-10
                                                )
KENNETH R. NEIGHBORS, PATRICIA H.               )
NEIGHBORS, BRIAN K. NEIGHBORS, and              )     Honorable
JOY NEIGHBORS,                                  )     Robert Hopkins and
                                                )     Mark Shaner,
      Defendants-Appellants.                    )     Judges, presiding.
______________________________________________________________________________

          JUSTICE MOORE delivered the judgment of the court.
          Justices McHaney and Sholar concurred in the judgment.

                                             ORDER

¶1        Held: The trial court correctly determined that three of the pro se defendants failed to
                enter timely appearances, and the court did not abuse its discretion in entering
                default ejectment orders against them. The court’s award of mesne profits was not
                against the manifest weight of the evidence. The award of damages for missing
                property was likewise not against the manifest weight of the evidence. The award
                of damages for cleanup of the premises was against the manifest weight of the
                evidence where the award was calculated based on a bid for cleaning the property
                and where the plaintiff acknowledged that, due to a subsequent sale of the property,
                it did not and would not incur this cost.

¶2        The plaintiff, Purgatory Cellars, LLC, filed a complaint seeking ejectment and damages

for the unauthorized use of its property by the defendants, Brian and Joy Neighbors and Kenneth

and Patricia Neighbors. The complaint alleged that the defendants, neighboring landowners, had

been storing lumber and equipment related to a lumber business on the plaintiff’s property without

                                                  1
authorization. The defendants acted pro se, and only Brian Neighbors appeared at all hearings or

filed a timely written appearance in the matter. Early in the proceedings, the court entered an

ejectment order against Brian and default ejectment orders against the other three defendants. It

subsequently awarded damages for mesne profits, the value of missing boxes of empty wine

bottles, and the cost of cleaning up the property. The defendants appeal, arguing that (1) the court

abused its discretion in entering a default order against three of the defendants and (2) the court

erred in awarding all three types of damages. The defendants filed a motion to strike portions of

the plaintiff’s brief, arguing that the plaintiff improperly cited to a proposed bystander’s report that

was not certified by the trial court or stipulated to by the parties. We grant the defendants’ motion

to strike. We reverse the portion of the court’s judgment awarding damages for cleanup costs;

however, we affirm all other portions of the judgment.

¶3                                     I. BACKGROUND

¶4      This case comes to us after a complicated factual background and procedural history. The

property at issue has since been sold, but it was previously owned by the plaintiff. Brian Neighbors

and his wife, Joy, own property adjacent to the plaintiff’s property to the south. Kenneth and

Patricia Neighbors, Brian’s parents, jointly owned a different parcel, which is adjacent to the

plaintiff’s property to the northeast. Patricia passed away in May 2021, while this litigation was

pending. Because the defendants share a last name, we will refer to them by the first names

throughout this decision.

¶5      The plaintiff’s predecessor, Flat Rock Holdings, LLC, purchased the property at issue in

2006. The plaintiff’s parent company is Forsythe Land Company (Forsythe). Prior to the sale, the

property was used as a winery operated by its previous owner, White Owl Winery. The plaintiff




                                                   2
continued that use until 2011. Brian was employed by the plaintiff as its winery manager. Although

the winery closed in 2011, the plaintiff did not sell the property for several years.

¶6     The dispute leading to this lawsuit arose in the fall of 2019, when the plaintiff decided to

sell the property. In contemplation of listing the property for sale, Forsythe’s property manager,

Amie Kennedy, visited the premises. She discovered piles of lumber, tractors, and vehicles that

did not belong to the plaintiff.

¶7     Kennedy contacted Barry Sloss, an attorney representing Forsythe, who in turn contacted

Brian Neighbors. On October 10, 2019, Brian told Sloss that the Neighbors’s use of the property

was pursuant to an agreement with Forsythe’s farm manager, Allen Hollingsworth. He explained

that under this agreement, Hollingsworth allowed them to store equipment on the plaintiff’s

property in exchange for mowing the grass and keeping an eye on the property. Sloss informed

Brian that Hollingsworth did not have the authority to make such an agreement, that any agreement

to that effect was now terminated, and that the defendants must remove their lumber and equipment

from the property.

¶8     On October 15, 2019, Sloss sent a letter to Kenneth and Patricia Neighbors demanding that

they remove all their personal property from the premises by October 31. Sloss also informed them

that during his previous discussion with Brian, Brian had mentioned that Kenneth and Patricia

might know someone interested in purchasing the property. He requested that if they knew of a

potential buyer who was “interested in making an offer,” they advise that individual to contact

Amie Kennedy regarding the property. Brian acknowledged receiving a copy of the letter, although

it was addressed only to Kenneth and Patricia.

¶9     In November 2019, the plaintiff entered into a contract to sell the property to Russell and

Christina Neighbors. Russell is Kenneth’s nephew. As we will discuss in more detail later, that


                                                  3
contract resulted in litigation in which the plaintiff in this case filed a third-party complaint against

the defendants in this case. The sale ultimately took place in the latter half of 2021, while the

proceedings in this case remained pending.

¶ 10    On July 15, 2020, the plaintiff filed an ejectment complaint against all four defendants,

alleging that as of July 8, 2020, they had not complied with the demand to remove their lumber

and equipment from the premises owned by the plaintiff. The complaint further alleged that the

defendants did not pay rent for use of the premises and did not have authorization to use the

premises. In its prayer for relief, the plaintiff requested damages and an order directing the

defendants to remove their lumber, equipment, and any other personal property from the premises.

¶ 11    The record indicates that the court immediately set the matter for an August 3, 2020,

hearing. Returns of service were filed on July 30, demonstrating personal service of process on all

four defendants on July 22 and 23.

¶ 12    On July 30, 2020, Brian filed two pro se pleadings. One was styled as a “Special and

Limited Appearance.” In it, he stated that he “has not had sufficient time since service to be

allowed to file a proper answer or otherwise respond to the complaint.” The other pleading was a

motion to continue, which was purportedly filed on behalf of all four defendants but was signed

only by Brian. In it, Brian alleged that none of the four defendants were able to attend the hearing

scheduled for August 3. He explained that his wife, Joy, was scheduled to have surgery on that

day and that he needed to be there with her. He further explained that his mother, Patricia, was

recovering from cancer treatment and that Kenneth was her caregiver. The court granted the

motion to continue over the plaintiff’s objection and reset the matter for a September 4, 2020,

hearing.




                                                   4
¶ 13   On September 1, 2020, the defendants filed a pro se motion to dismiss, which was signed

by all four. They first argued that the plaintiff’s complaint was moot, alleging that the defendants

had, “in good faith, removed the logs, lumber, and equipment, and personal property from the land

in question.” They did not state when this had occurred. The defendants next alleged that Russell

Neighbors had entered into a contract with the plaintiff for the sale of the property in November

2019; that Russell wanted to continue the arrangement previously agreed to by the defendants and

Hollingsworth; and that the defendants thus believed it was “unnecessary for Kenneth to quit the

property” in view of the pending sale. The defendants argued that this case was redundant because

pending litigation involving the contract for sale (case number 20-CH-7) would “settle the

ownership issue” and resolve the questions in this case as well. Finally, the defendants alleged that

Brian and Joy had no interest in or involvement with Kenneth’s lumber business. In addition, the

defendants denied all allegations in the complaint. They requested either dismissal of the complaint

in its entirety or “an extension until after the property ownership issue is established by this Court

in case 2020-CH-7.” Unlike the earlier pleadings filed by Brian, the motion to dismiss was signed

by each of the four defendants.

¶ 14   On September 4, 2020, the court held an ejectment hearing. Brian was the only defendant

to attend. In a docket entry dated that day, the court granted the plaintiff’s claim for ejectment

against Brian based on the evidence presented and entered a default order of ejectment against the

other three defendants. The court ordered the defendants to remove their lumber and equipment

within 30 days. According to the defendants, the court informed Brian that his wife and parents

could file motions to vacate the default order against them within 30 days.




                                                  5
¶ 15   On September 29, 2020, Joy, Patricia, and Kenneth filed motions to vacate the default

ejectment order against them. They did not notice these motions for a hearing, and the court never

directly ruled on them.

¶ 16   The matter came for the first hearing on damages on November 6, 2020. Brian and Joy

were the only defendants in attendance. A docket entry indicates that, after hearing testimony from

both parties, the court found evidence that the plaintiff had incurred damages for (1) impaired use

of the property from January to November of 2020, (2) the loss of 240 missing boxes of empty

wine bottles, and (3) the necessity of cleaning up the property. In addition, the court stated,

“Defendants agree and are hereby ordered to clean up the open building, including hauling off the

lumber and trash.” The court continued the matter for further hearings on damages.

¶ 17   On April 5, 2021, the court held a hearing via the Zoom platform. This time, all four

defendants appeared. During a recess in the hearing, the defendants filed a motion to dismiss the

plaintiff’s claim for damages, arguing that the claims involved in this litigation are redundant and

duplicative of those at issue in number 20-CH-7; alleging that this case was brought by the plaintiff

in bad faith; asserting that Brian and Joy should not have been added as defendants because they

were not involved in the logging operation; and contesting various elements of damages claimed

by the plaintiff. In a docket entry, the court struck the motion to dismiss the plaintiff’s claim for

damages, finding it to be duplicative and untimely.

¶ 18   After a series of continuances, the matter again came for a hearing on damages on June 23,

2022. Brian and Joy attended the hearing; Kenneth did not. (As noted earlier, Patricia passed away

in May 2021.) Brian and Joy presented the testimony of Russell Neighbors and Charles Kivlehen.

Kivlehen was a former employee of the plaintiff who testified concerning the missing cases of

bottles. In particular, he noted that during his tenure, the plaintiff received a shipment of defective


                                                  6
bottles. Although the supplier replaced the defective bottles with good bottles, it asked the plaintiff

not to return the defective bottles. Kivlehen did not provide an estimate of how many defective

bottles were in the shipment. 1 The matter was once again continued for further hearings.

¶ 19    On August 5, 2022, the court held its final hearing on damages. Both parties rested, and

the court directed the parties to file written arguments.

¶ 20    On the same day, the defendants filed a motion to vacate the ejectment order. They once

again argued that this case was duplicative of the issues involved in case number 20-CH-7, which

had been resolved by this time. They argued that, because the property was now owned by Russell

and Christina, the plaintiff lacked standing to request ejectment. The defendants further asserted

that all three of the plaintiff’s claims for damages were meritless, alleging that (1) the defendants

had paid rent for use of the property in the form of mowing the grass around the buildings, thus

negating any claim for mesne profits; (2) the cases of bottles the plaintiff alleged to be missing

contained defective bottles with no commercial value, and they had been moved to a different area

of the property as part of the defendants’ cleanup efforts; and (3) the plaintiff had dismissed its

claim for damages related to the cleanup of the property.

¶ 21    The plaintiff responded with a motion to deny the defendants’ motion to vacate. The

plaintiff noted that the order for ejectment was entered on September 4, 2020, nearly two years

before the defendants filed their motion to vacate it in August 2022. The plaintiff thus argued that

the defendants’ motion was untimely whether construed as a motion to vacate a default judgment,




        1
          We note that our summary of Kivlehen’s testimony comes from the findings of fact contained in
the court’s memorandum of decision in this matter. The record on appeal does not contain transcripts from
any of the hearings. The record does contain multiple proposed bystander’s reports; however, as we will
discuss in more detail later in this decision, none of them were either agreed upon by the parties or certified
by the trial court. See Ill. S. Ct. R. 323(c) (eff. July 1, 2017) (providing that only a bystander’s report that
has been stipulated to by the parties or certified by the trial court may appear in the record on appeal).
                                                       7
a motion to dismiss, or a motion to reconsider the court’s September 4, 2020, ruling. The plaintiff

argued that the motion should be denied on this basis.

¶ 22    On November 14, 2022, the court entered a detailed memorandum of decision. The court

first addressed the defendants’ motion to vacate the ejectment order. The court found that the

motion was untimely, having been filed 23 months after the ejectment order was entered. The court

also noted that the defendants’ motion was not verified or supported by an affidavit. The court

nevertheless addressed the merits. Taking judicial notice of number 20-CH-7, the court noted that

the third-party claim in that case involved money that the plaintiff in this case (which was the

defendant in 20-CH-7) was required to pay to remove liens from the property so it could complete

the sale to Russell and Christina. It did not involve the ejectment issue. The court further noted

that the plaintiff transferred the property to Russell and Christina sometime after July 7, 2021, but

emphasized that the plaintiff was the owner between September 4, 2020, and the date of the

transfer, thus entitling the plaintiff to damages for that period.

¶ 23    The court next considered the plaintiff’s claim for mesne profits. The court considered two

exhibits provided by the plaintiff to demonstrate the reasonable rental value of the property for

storage of lumber and equipment. Exhibit 7 showed the rental value of storage units at Marshall

Safe Storage, a self-storage facility owned by Forsythe. The court rejected this exhibit, finding that

it was not comparable because Marshall Safe Storage contained “discrete and secure” storage

units. By contrast, the court noted that the plaintiff’s property contained one building that was open

and another that was “relatively secure” but did not include secure divisions within the building.

Exhibit 15 was a printout from the internet that showed the cost of renting outdoor uncovered

storage units for boats and recreational vehicles from another storage facility, Super A+ Storage.




                                                   8
The court found this to be more comparable to the plaintiff’s property because the prices quoted

in the exhibit were for open storage.

¶ 24    In determining the reasonable rental value of the property for the use made of it by the

defendants, the court noted that the plaintiff’s property was less secure than Super A+ Storage’s

facility. It discounted the rental value in accordance with this finding. In addition, the court made

adjustments for the size of the area used for storage. Based on these calculations, the court found

that the rental value of the property for the period in which the defendants continued to store their

lumber and equipment there was $13,800 for one year.

¶ 25    The court found that the defendants were not entitled to an offset for the value of the service

the defendants provided by mowing the property. The court explained that damages were sought

only for the period after October 31, 2019, at which time it was undisputed that the parties had no

agreement.

¶ 26    Next, the court considered the value of the missing cases of wine bottles. The court first

discussed the pertinent testimony and exhibits. The court noted that the bottles and other items of

personal property were not sold to Russell and Christina. Thus, the court concluded that they were

the property of the plaintiff.

¶ 27    The court further noted that Amie Kennedy testified that three pallets containing 240 boxes

of unused wine bottles were missing from the winery building when she inspected the property in

the fall of 2020. She identified a photograph of the boxes taken in March 2011, which was entered

into evidence. Initially, Kennedy testified that each case contained 12 bottles and had a value of




                                                  9
$47.95 per case, for a total value of $11,500. 2 At a subsequent hearing, however, the plaintiff

introduced into evidence an exhibit showing a lower cost of replacement for the missing bottles. 3

¶ 28    The defendants’ witness, Charles Kivlehen, testified that he worked for the plaintiff as an

assistant winemaker from 2007 to 2010. During this period, a supply company sold the plaintiff

defective wine bottles. Although Kivlehen was not certain of the exact time the plaintiff received

the defective bottles, he believed it was in 2007. He further testified that the supplier replaced the

defective bottles with good bottles but requested that the plaintiff not return the defective bottles.

Kivlehen did not know how many bottles were defective, and he did not know how many defective

bottles remained on the premises after he left his position in 2010. Kivlehen estimated that the cost

of a case of good bottles was $8 to $10 in 2008 and that the cost at the time of the hearing was $12

to $15 per case.

¶ 29    Brian Neighbors testified that 240 boxes of defective wine bottles were placed in the

building he referred to as the “junk shed” and were still on the premises. The defendants offered

into evidence photographs of boxes in crates in the “junk shed.” 4




        2
           Although not mentioned by the court in its memorandum of decision, this estimate was supported
by a printout from the Etsy website offering 12 bottles at that price. The printout was admitted into evidence
and appears in the record as an exhibit. The bottles at issue in this case came in boxes of 12. The defendants
state in their brief that they objected to this exhibit on the grounds that it does not reflect the cost of
purchasing bottles within the wine industry.
         3
           The exhibit was a copy of an invoice from a bottle supplier to Broken Earth Winery. The invoice
was dated 2020. It showed charges of $7.48 per case of 12 bottles plus a $1.36 per case surcharge for what
the supplier called “additional government-imposed tariffs.” These figures result in a total cost of $8.84 per
case. Handwritten notes indicate that 192 cases at $7.48 per case would total $1436.16. The court noted in
its memorandum of decision that the exhibit showed a total replacement cost in this amount. Although this
total ignores the surcharge and understates the number of missing cases, the court’s ultimate finding
concerning the value of the missing bottles did consider the evidence that 240 cases were missing.
         4
           The property contains two buildings. Both parties refer to one building as the “winery building.”
The defendants refer to the other building as the “junk shed,” while the plaintiff refers to it as the “storage
building.”

                                                     10
¶ 30    After setting forth this evidence, the court found that the bottles were removed from the

premises while the defendants were storing their equipment on the property. The court further

found the value of the bottles to be $8 per case for a total of $1920.

¶ 31    Finally, the court addressed the plaintiff’s claim for the cost of cleanup. The plaintiff

offered into evidence a bid from a company called Sure Clean, Inc., to clean up the premises for

$27,226. The court noted that the bid was dated November 2020. The court found that additional

evidence showed that the defendants removed much of their lumber from the premises after that

time and concluded that the reasonable cost for cleaning the remaining lumber was $6000.

Accordingly, the court entered judgment in favor of the plaintiff for a total of $21,720 ($13,800

for lost mesne profits plus $1920 for the missing bottles plus $6000 for the remaining cost of

cleanup).

¶ 32    The defendants filed a motion to reconsider, which the court denied after a hearing on

February 9, 2023. The defendants subsequently filed this timely pro se appeal. 5

¶ 33    After filing their notice of appeal, the defendants filed a proposed bystander’s report. The

plaintiff then filed its own proposed bystander’s report. The court granted the parties a continuance

to allow them to attempt to reach an agreement on a bystander’s report. The defendants filed

another proposed bystander’s report in June 2023 along with a motion asking the court to certify

it. However, there is no indication in the record that the parties ever came to an agreement. In

addition, the trial court has not certified any of the proposed bystander’s reports, and the retirement

of the trial judge who presided over the hearings in this case complicates any further attempts at

obtaining the court’s certification. The matter has proceeded through briefing before this court


        5
         We note that the notice of appeal was filed on March 13, 2023, which was 32 days after the court
entered its final order on February 9, 2023. However, March 11, which was 30 days after entry of the
judgment, fell on a Saturday. The notice of appeal filed on the next business day was therefore timely. See
Galaviz v. Mietus Restoration, Inc., 2023 IL App (1st) 220514, ¶ 25 (citing 5 ILCS 70/1.11 (West 2020)).
                                                   11
without the question of the bystander’s report being resolved. The plaintiff cited its own proposed

bystander’s report in its brief, while the defendants described what occurred at various hearings

without providing any citation to the record. After briefing was complete, the defendants filed a

motion to strike portions of the plaintiff’s brief that cite to its proposed bystander’s report. We will

address that motion and the status of the bystander’s reports in our analysis.

¶ 34                                      II. ANALYSIS

¶ 35    The defendants argue that the court erred and abused its discretion by (1) entering findings

of default against three of the defendants after erroneously finding that their motion to dismiss did

not constitute an appearance in the case; (2) rendering “a biased opinion on mesne profits” and

basing its calculations on information selected arbitrarily; (3) awarding damages for the missing

bottles which, according to the defendants, were not owned by the plaintiff and “were proven not

to be missing”; and (4) awarding damages to the plaintiff for the cost of cleanup when the plaintiff

no longer owned the property and admitted it would not be incurring this cost. We reject all but

the last of these contentions.

¶ 36              A. Bystander’s Reports and the Plaintiff’s Motion to Strike

¶ 37    Before considering the merits of the defendants’ contentions, we must address the status of

the parties’ proposed bystander’s reports and the defendants’ motion to strike portions of the

plaintiff’s brief. As we discussed earlier, the trial court granted the parties a continuance to allow

them to agree upon a bystander’s report. However, they apparently never reached such an

agreement, and the trial court did not certify any of the proposed bystander’s reports the parties

submitted. Illinois Supreme Court Rule 323(c), which governs the preparation of bystander’s

reports, provides that absent a stipulation by the parties, only a bystander’s report that is certified

by the trial court “shall be included in the record on appeal.” Ill. S. Ct. R. 323(c) (eff. July 1, 2017).


                                                   12
Because the record before us contains neither a stipulation by the parties nor a certification by the

trial court, the proposed bystander’s reports appearing in the record are not properly before us.

¶ 38   Two months after the plaintiff filed its brief in this matter, the defendants filed a motion to

strike the portions of the plaintiff’s brief that cite to its own proposed bystander’s report. Because

that proposed bystander’s report is not properly a part of the record on appeal (see Ill. S. Ct. R.

323(c) (eff. July 1, 2017)), we now grant that motion.

¶ 39   Before turning our attention to the merits of this appeal, we note that the parties introduced

numerous exhibits into evidence, which are properly before us, and we find that we can resolve

the questions before us based on those exhibits, the court’s express findings of fact, and the

applicable law. We will refer to the contents of the proposed bystander’s reports only as necessary

to provide context, but we will ground our decision in those portions of the record that are properly

before us. With that in mind, we turn now to the defendants’ arguments.

¶ 40                              B. Default Ejectment Order

¶ 41   We will first address the defendants’ contention that the court abused its discretion by

entering a default ejectment order against Joy, Kenneth, and Patricia. They argue that the court

erroneously failed to accept the motion to dismiss signed by all four defendants as an appearance

by Joy, Kenneth, and Patricia as well as by Brian. They further contend that, had the court not

entered findings of default against these defendants, it would have granted the motion to dismiss

because not all defendants met the criteria for ejectment. We reject these contentions.

¶ 42   We review the court’s decision to enter a default order for an abuse of discretion or a denial

of substantial justice. CitiMortgage, Inc. v. Moran, 2014 IL App (1st) 132430, ¶ 22. However, the

question of whether the defendants’ motion to dismiss constituted a timely appearance is a question

of law; it is therefore subject to de novo review. See Illinois State Toll Highway Authority v. South


                                                 13
Barrington Office Center, 2016 IL App (1st) 150960, ¶ 32. Applying that standard, we answer the

question in the affirmative.

¶ 43    As the defendants correctly contend, filing a motion or answer generally constitutes an

appearance under the Ejectment Act and under the applicable supreme court rules. See 735 ILCS

5/6-116 (West 2020); Ill. S. Ct. R. 181(b)(1) (eff. July 17, 2020). However, their argument

overlooks the fact that a defendant’s appearance must be timely. The summons in this case required

the defendants to appear on August 3, 2020. Under Rule 181, when a summons requires an

appearance on a specific date, the defendants may enter their appearance either by appearing in

court in person on the date specified or by filing a motion, answer, or written appearance on or

before that date. Ill. S. Ct. R. 181(b)(1) (eff. July 17, 2020). Here, the defendants filed their motion

to dismiss on September 1, 2020, nearly a month after the date specified in the summons. Only

Brian filed a written appearance before August 3. Although the court granted Brian’s request for

a continuance of the hearing scheduled for that date, the other defendants did not request, much

less obtain, an extension of time to file their responsive pleadings or other appearances. Thus, the

court correctly found that they had not appeared.

¶ 44    Pursuant to section 2-1301(d) of the Code of Civil Procedure, a court has the discretion to

enter a default judgment “for want of an appearance, or for failure to plead.” 735 ILCS 5/2-1301(d)

(West 2022). Before entering a default judgment, the court may require the opposing party to

provide proof of the allegations upon which relief is to be granted. Id. However, “a default

judgment is a drastic remedy that should be used only as a last resort.” Godfrey Healthcare &amp;

Rehabilitation Center, LLC v. Toigo, 2019 IL App (5th) 170473, ¶ 39. On appeal, we will reverse

a court’s decision to enter a default order only if it constituted an abuse of the court’s discretion or

resulted in a substantial denial of justice. Moran, 2014 IL App (1st) 132430, ¶ 22.


                                                  14
¶ 45   Trial courts also have the discretion to set aside any finding of default prior to entering a

final judgment and to set aside “any final order or judgment” upon a motion filed within 30 days

after the judgment. 735 ILCS 5/2-1301(e) (West 2022). This provision is to be liberally construed,

and a party requesting that a court vacate a default judgment is not required to assert either a

reasonable excuse for failing to assert a defense earlier or the existence of a meritorious defense.

Godfrey Healthcare, 2019 IL App (5th) 170473, ¶ 39. We review a court’s decision on a motion

to vacate a default order for an abuse of discretion or a denial of substantial justice. Moran, 2014

IL App (1st) 132430, ¶ 23.

¶ 46   Here, the three defaulted defendants filed motions to vacate the default order, but they

never set their motions for a hearing. On appeal, the defendants do not directly challenge the

court’s failure to rule on their motions to vacate. Instead, they assert that if the court had accepted

their motion to dismiss as a valid appearance, it would have vacated the default order. As such, we

will confine our discussion to the defendants’ contention that the court abused its discretion in

entering the default order.

¶ 47   Turning our attention to that question, we first note that there is some authority for the

proposition that, in the exercise of its discretion, a court may properly decline to enter a default

order where a defendant files an untimely appearance if the plaintiff waits until after the defendant

has appeared to request a default. See, e.g., Bland v. Lowery, 43 Ill. App. 3d 413, 419 (1976)

(holding that the trial court did not abuse its discretion in denying a plaintiff’s request to default

defendants five months after the defendants filed their untimely motion to dismiss); Watford v.

Rowe, 2021 IL App (5th) 190434-U, ¶¶ 28-29 (following Bland and finding no abuse of discretion

where the trial court denied the plaintiff’s motion for a default judgment which was filed 82 days

after the defendant filed an untimely motion to dismiss); see also Moran, 2014 IL App (1st)


                                                  15
132430, ¶ 30 (noting that “Bland is instructive in that it recognizes the validity of the defendants’

motion to dismiss that was filed after the time period prescribed for pleading”). That is what

occurred in this case. The plaintiff requested a default order against Joy, Kenneth, and Patricia at

the September 4, 2020, ejectment hearing, three days after they entered their untimely appearance

by filing a motion to dismiss. However, it is important to emphasize that while Bland and Watford

held that the trial courts in those cases did not abuse their discretion in denying requests for default

orders under the circumstances, neither decision addressed the question before us—whether a court

abuses its discretion if it does enter a default order under similar circumstances. On that question,

we find guidance in the First District’s decision in Moran.

¶ 48    Like this case—and unlike Bland or Watford—Moran involved a question of whether the

trial court abused its discretion in granting a motion for a default order after the defendant filed an

untimely appearance and motion to dismiss. Moran, 2014 IL App (1st) 132430, ¶ 30. There, the

plaintiff filed two motions for a default order against multiple defendants for their failure to appear.

Id. ¶¶ 6-7. Following the second of these motions, the trial court granted one of the defendants,

Moran, leave to file his appearance in the matter by a specified date. Id. ¶ 7. Moran filed his

appearance two days after the deadline without leave of the court, and he filed a motion to dismiss

two days later, which he did not set for a hearing. Id. ¶¶ 7-8.

¶ 49    Several months later, the plaintiff filed a motion to set Moran’s motion to dismiss for a

hearing. The plaintiff pointed to a local Cook County court rule that placed the burden of setting a

motion for hearing on the party that filed the motion. Id. ¶ 9. The rule required motions to be set

for hearing within 90 days. The plaintiff argued that, pursuant to the local rule, the court could

deny Moran’s motion on the basis of his delay alone. Id. Instead of ruling on the motion to dismiss,

the trial court entered a default order against Moran. Id. ¶ 10.


                                                  16
¶ 50    On appeal, Moran argued that, under Bland, the trial court did not have discretion to enter

a default order while his motion to dismiss was pending. Id. ¶ 28. The appellate court rejected this

contention, finding Bland distinguishable because, “in Bland, the trial court considered and granted

the defendants’ motion to dismiss.” Id. The court explained, however, that the Bland holding

“recognize[d] the validity” of an untimely filed motion. Id. ¶ 30. The court also noted that Moran’s

failure to set his motion for a hearing did not preclude the court from ruling on it. Id. ¶ 35. The

court therefore went on to consider whether to reverse the default order. Id. ¶ 32. The court

explained that this required it to “evaluate the merits of Moran’s motion to dismiss” because it

would only reverse the default order if it found that the trial court should have granted the motion

to dismiss. Id. After concluding that Moran’s motion to dismiss lacked merit (id. ¶ 41), the

appellate court held that the trial court acted within its discretion in entering a default order against

him (id. ¶ 56).

¶ 51    Although not explicitly stated by the Moran court, entering a default order with an untimely

motion to dismiss pending would be far more likely to lead to a substantial denial of justice if the

motion has merit. See id. ¶ 22. Nevertheless, we do not believe that the entry of a default order can

never constitute an abuse of discretion or result in substantial injustice unless a pending motion to

dismiss has merit. Here, however, the defendants’ only arguments on appeal are (1) that the court

erroneously found that Joy, Kenneth, and Patricia failed to plead or appear—an argument we have

already rejected; and (2) that if the court had not entered the default, it would have granted the

motion to dismiss as to Brian and Joy because, according to the defendants, they did not meet the

requirements for ejectment. Because these are the only arguments they raise, they have forfeited

consideration of any other claims on appeal. Ill. S. Ct. R. 341(h)(7) (eff. Oct. 1, 2020).




                                                   17
¶ 52   We find no merit to the defendants’ contention that the motion to dismiss would have been

granted as to Brian and Joy had the court not entered a default order against Joy, Patricia, and

Kenneth. We reach this conclusion for several reasons.

¶ 53   First, although the defendants never set their motion to dismiss for a hearing and the court

accordingly never ruled on it, the court did ultimately consider and reject most of the issues raised

in the motion to dismiss when it ruled on their subsequent motion to vacate the ejectment orders.

The defendants do not challenge the merits of this ruling, and we believe it was sound.

¶ 54   Second, although Brian was not found to be in default, the court entered an ejectment order

against him based on the evidence presented at the ejectment hearing. In addition, Joy appeared at

numerous subsequent hearings at which she had ample opportunity to present evidence and

arguments and ask the court to revisit its earlier order.

¶ 55   Third, the basis for the defendants’ contention that Brian and Joy do not meet the

requirements for ejectment is their allegation that Kenneth’s lumber business was a sole

proprietorship. We note that the default order did not prevent them from presenting evidence of

this allegation in the form of a copy of a tax return, which appears in the record as an exhibit.

Significantly, however, this does not necessarily absolve them of liability in an ejection action. A

person “who orders, aids, directs, abets, or assists the commission of a trespass is liable for the

resultant damages even if such an individual did not benefit from the trespass.” Miller v. Simon,

100 Ill. App. 2d 6, 9 (1968). The defendants do not point to what additional evidence they might

have presented had the court not entered the default order. We therefore find no merit to their claim

that the court would have granted the motion to dismiss had it not entered the default order. We

likewise find no abuse of discretion or substantial denial of justice.




                                                  18
¶ 56                                  C. Damages Claims

¶ 57   The defendants’ remaining claims concern the award of three types of damages. Where, as

here, a court makes an award of damages after a bench trial, we review the court’s judgment to

determine whether it is against the manifest weight of the evidence. King v. Find-a-Way Shipping,

LLC, 2020 IL App (1st) 191307, ¶ 28. We give deference to the trial court in its findings of fact

because the trial judge had the opportunity “to observe the conduct and demeanor of the parties

and witnesses.” Archon Construction Co. v. U.S. Shelter, L.L.C., 2017 IL App (1st) 153409, ¶ 54.

A factual finding is against the manifest weight of the evidence only if it is arbitrary, unreasonable,

or not based on the evidence, or if the opposite conclusion is clearly evident. Id. We will not

overturn an award of damages unless we find either that the trial court ignored the evidence or that

the measure of damages used was erroneous as a matter of law. King, 2020 IL App (1st) 191307,

¶ 28. If the record contains evidence to support the award, we will not find it to be against the

manifest weight of the evidence. Id. With this in mind, we turn our attention to the defendants’

specific claims.

¶ 58                                    1. Mesne Profits

¶ 59   The defendants argue that the court erred in its award of mesne profits because the evidence

it relied upon in determining the amount to award was arbitrary and did not establish the amount

of damages with certainty. We disagree.

¶ 60   Under the Ejectment Act, a plaintiff entitled to an ejectment judgment “shall also be

entitled to recover damages against the defendant for the rents and profits of the premises

recovered.” (Emphasis added.) 735 ILCS 5/6-130 (West 2022). Such damages are known as mesne

profits, which are defined as “the value of the use and occupation of the land during the period of

a defendant’s wrongful possession.” Stein v. Green, 6 Ill. 2d 234, 240 (1955). Put another way,


                                                  19
mesne profits are “the reasonable rental value which represents the worth of the use of the

premises.” Miller, 100 Ill. App. 2d at 10. As with any other element of damages, mesne profits

may only be recovered with some evidence of the appropriate amount, which “must be proved

with a reasonable degree of certainty.” Stein, 6 Ill. 2d at 240.

¶ 61   The defendants argue that the plaintiff’s evidence of the rental rates from Super A+ Storage

did not meet this standard due to several differences between Super A+ Storage’s facility and the

plaintiff’s premises. They point to the following differences: (1) unlike the Super A+ Storage

facility, the plaintiff’s property is not located near three major highways “from which to draw

traffic”; (2) the plaintiff’s property is not located near any body of water or recreational vehicle

park where the types of items stored at Super A+ Storage might be used; and (3) the property lacks

the security available at the Super A+ Storage facility. We are not persuaded.

¶ 62   As we discussed earlier, the court expressly considered the fact that the plaintiff’s property

was less secure than the Super A+ Storage facility. The court found that the value of using the

property for storage purposes was thus lower than the value of using Super A+ Storage for that

purpose, and it reduced the reasonable rental value in accordance with this finding. We do not find

the other two differences highlighted by the defendants to be particularly relevant. The question is

the value of the use of the property by the defendant. See Miller, 100 Ill. App. 2d at 10. Here, the

defendants used the property to store their own lumber and equipment. Proximity to a lake or

recreational vehicle park would not make the property more valuable for that purpose, nor would

proximity to major highways from which to attract traffic. We do not find the court’s reliance on

the evidence submitted to be arbitrary, unreasonable, or contrary to the manifest weight of the

evidence.




                                                 20
¶ 63   The defendants contend, however, that because the plaintiff’s property had never been used

for storage by anyone other than a lumber business, the court could not rely on evidence of storage

rental rates for any other purpose. We disagree. The fact that defendants in an ejectment action use

a property for purposes other than those uses intended by the property owner should not deprive

the plaintiff of the ability to recover mesne profits. By statute, the plaintiff in an ejectment action

is entitled to recover such damages so long as they are proven. See 735 ILCS 5/6-130 (West 2020).

¶ 64   The defendants next point to the evidence they submitted of a lawn mowing bid from

Weston’s Lawn Service stating that the cost of mowing the plaintiff’s property would be $180 per

month. In their statement of facts, the defendants assert that this “creates mesne profits of $1080

for use of the land for six mowing months.” Although not clearly explained, their implicit argument

seems to be that because the farm manager for the plaintiff’s parent company previously allowed

the defendants to store their equipment and lumber on the property in exchange for mowing the

grass, the cost of paying a lawn service company to mow the property represents a reasonable

rental value for this use. We reject this contention for two reasons.

¶ 65   First, the defendants forfeited this argument by failing to include it in the written closing

argument they submitted to the trial court. In that argument, the defendants argued that the

plaintiffs were not entitled to any mesne profits because they had not proven the measure of such

damages. They did not argue that the Weston Lawn Services bid represented a more appropriate

measure of damages than the evidence the plaintiff provided. Arguments not made to the trial court

are forfeited on appeal. See Enbridge Pipeline (Illinois), LLC v. Hoke, 2019 IL App (4th) 150544-

B, ¶ 38. It is also worth noting that the trial court appears to have considered the bid as evidence

in support of an argument that any damage award for mesne profits should be offset by the value




                                                  21
of lawn mowing services alleged to have been provided by the defendants. As discussed

previously, the court addressed that question in its memorandum of decision.

¶ 66    Second, under the manifest-weight-of-the-evidence standard, we will not substitute our

judgment for that of the trial court. Archon Construction, 2017 IL App (1st) 153409, ¶ 54. It was

the role of the trial court, as finder of fact, to weigh conflicting evidence. In re Estate of Lambrecht,

375 Ill. App. 3d 865, 871 (2007). We will not overturn its factual findings merely because a

different conclusion is possible; we will only reverse if the opposite conclusion is clearly evident.

Walker v. Ridgeview Construction Co., 316 Ill. App. 3d 592, 595 (2000). We have already

concluded that the court’s determination of mesne profits was supported by the evidence. While a

different conclusion may have been possible, we do not believe the opposite conclusion was clearly

evident. We therefore affirm the court’s award of mesne profits.

¶ 67                                    2. Missing Bottles

¶ 68    The defendants next argue that the court erred in awarding damages for the missing bottles.

They do not argue that the amount of damages was inaccurate or against the manifest weight of

the evidence. They argue only that the court erred in awarding damages at all because the evidence

showed that (1) the bottles were not missing and (2) they were not the plaintiff’s property because

they were sold to Russell and Christina along with the real estate. We disagree.

¶ 69    We first consider the court’s finding that the bottles were missing. It is apparent from the

court’s recitation of the pertinent evidence that the court heard conflicting testimony on this

question. Resolving conflicting evidence and assessing the credibility of witnesses are matters

within the province of the trier of fact. Los Amigos Supermarket, Inc. v. Metropolitan Bank &amp;

Trust Co., 306 Ill. App. 3d 115, 127 (1999). As we stated earlier, we may not substitute our




                                                   22
judgment for that of the trial court. This is particularly true “with respect to credibility

determinations.” Harris Bank of Hinsdale v. County of Kendall, 253 Ill. App. 3d 708, 715 (1993).

¶ 70   It is also worth noting that three affidavits offered into evidence by the defendants provide

additional support for the court’s determination. Kivlehen averred that after receiving a shipment

of defective bottles in 2008, the defective bottles were moved to the “junk shed” along with empty

bottles from the tasting room. Brian likewise stated in his affidavit that, while acting as the

plaintiff’s winery manager, he moved the defective wine bottles to the “junk shed” in

approximately 2008. He further averred that he later learned that Kenneth moved the defective

bottles back to the empty bottle storage room during the early stages of the cleanup. Kenneth gave

an affidavit in which he averred that he moved the bottles from the “junk shed” to give him access

lumber that he had been storing there.

¶ 71   As previously discussed, the plaintiff presented evidence that 240 cases of bottles that were

in the winery building in 2011 were no longer there when Kennedy inspected the premises later.

The statements in the affidavits demonstrate that the bottles at issue were not the same defective

bottles that were moved to the “junk shed” because those bottles had been moved three years

earlier. We find that the evidence in the record supports the court’s finding that the bottles were

missing.

¶ 72   The defendants also challenge the court’s finding that the bottles were the property of the

plaintiff. As the defendants acknowledge, the plaintiff offered into evidence a bill of sale

transferring ownership of personal property, including the inventory, from White Owl Winery to

the plaintiff’s predecessor, Flat Rock Holdings. Although no similar bill of sale transferred

specified items of personal property from the plaintiff to Russell and Christina, the contract for

sale of the real estate, which was also offered into evidence, did contain boilerplate language


                                                23
generally transferring the fixtures and personal property to Russell and Christina along with the

real estate. The defendants contend that, because the sale was finalized before the court entered its

final judgment in this case, the bottles were the property of Russell and Christina, not the plaintiff.

We are not persuaded.

¶ 73   We first note that, although the plaintiff argues in response that the court correctly found

that the bottles belonged to the plaintiff because they were removed before the sale was complete,

the court stated in its order only that the bottles were not sold to Russell and Christina. However,

we review the court’s judgment, not its rationale. See Brettman v. Virgil Cook &amp; Son, Inc., IL App

(2d) 190955, ¶ 40. Thus, we need not decide whether the boilerplate language in the contract for

sale of the real estate included inventory such as the unused wine bottles in the sale. There was no

evidence that the bottles were removed after the property was transferred to Russell and Christina.

As such, the court correctly found that the bottles were the property of the plaintiff. We therefore

uphold the award of damages for the missing bottles.

¶ 74                                   3. Cost of Cleanup

¶ 75   Finally, the defendants argue that the court erred in awarding damages for the cost of

cleanup for three reasons. First, they assert that they completed the required cleanup of the

premises to the court’s satisfaction in March 2021. Second, they allege that the plaintiff

acknowledged that it no longer had a claim for cleanup damages because it sold the property to

Russell and Christina “as is.” Third, the defendants allege that the court told them that the cleanup

issue was moot and therefore did not allow them to present evidence to defend against the claim.

They argue that this was unfair and deprived them of due process of law. We will consider these

arguments in turn.




                                                  24
¶ 76   We will address the defendants’ third claim first. There are two key flaws in the defendants’

argument that the court unfairly refused to allow them to present evidence to defend against the

plaintiff’s claim for damages for the cost of cleaning up the property. First, they point to nothing

in the record to support their assertion. Second, the record reveals that the defendants presented

several photographs demonstrating that they had removed significant amounts of lumber and trash

from the premises, and the court’s memorandum of decision indicates that the trial judge

considered and gave weight to this evidence. The record thus refutes the defendants’ allegation

that the court denied them the opportunity to present evidence in their defense. As such, we need

not consider this argument further.

¶ 77   The defendants also argue that the court erred and abused its discretion in awarding

damages for cleanup because the property had been cleaned to the court’s satisfaction as of March

2021. As we explained earlier, the proper standard of review is not abuse of discretion but manifest

weight of the evidence. See King, 2020 IL App (1st) 191307, ¶ 28. Here, although the defendants

make a conclusory allegation that cleanup was completed to the court’s satisfaction, the court

expressly found only that a significant portion of the cleanup had been completed. The court

reduced the damage award for the cost of cleanup accordingly. We do not believe this finding was

against the manifest weight of the evidence, and aside from their conclusory allegation to the

contrary, the defendants do not provide us with any basis upon which to make such a finding. We

therefore reject this contention.

¶ 78   Finally, we consider the defendants’ argument that the court erred in awarding cleanup

damages because the plaintiff “dropped” that claim during trial. Although we reach this conclusion

for a different reason than that advanced by the defendants, we agree that the court erred.




                                                25
¶ 79    As the defendants correctly point out, the plaintiff filed a proposed order for damages with

the court in August 2022 in which the plaintiff stated as follows: “Purgatory did acknowledge [at

a hearing] that due to the resolution of the companion litigation case, 2020-CH-7, Purgatory no

longer had a claim for the Sure Clean cleanup expenses of $27,226 as of November 6, 2022.”

According to the defendants, this was tantamount to “dropping” the plaintiff’s claim for any and

all damages associated with the need to clean up the property.

¶ 80    In response, the plaintiff argues that although its attorney “acknowledged that, because

ownership of the property was transferred to Russell and Christina Neighbors in December 2021,

before Sure Clean could come out to complete the clean, [the] plaintiff would not incur that

particular cost,” the plaintiff “never waived its argument to request damages for the delay or its

own expenses regarding any cleanup efforts.” The plaintiff further argues that it provided evidence

of other expenses it incurred due to the defendants’ delay in completing the ordered cleanup of the

property. In particular, the plaintiff asserts that Amie Kennedy testified that she was required to

make several visits to the property, each of which entailed a 120-mile round-trip drive, and that

the plaintiff was required to purchase locks, “No Trespassing” signs, and other equipment. 6 The

plaintiff argues that the defendants’ ”extreme delay” in complying with the previous orders to

clean up the property “resonated with the Circuit Court” in its determination of the measure of

damages for cleanup. We reject the plaintiff’s contention.

¶ 81    The record clearly indicates that the court calculated damages for cleanup costs based on

the Sure Clean bid, not on evidence of other expenses incurred due to the defendants’ delay in



        6
         In support of this contention, the plaintiff relies on its own proposed bystander’s report. As we
discussed earlier, however, that report is not properly before us because it was neither certified by the court
nor stipulated to by both parties. See Ill. S. Ct. R. 323(c) (eff. July 1, 2017). Moreover, even if we were to
consider the plaintiff’s proposed bystander’s report, the testimony described therein does not establish the
amount of expense the plaintiff incurred.
                                                     26
cleaning up the premises. As we discussed earlier, the trial court expressly found that the

reasonable cost of cleaning up the premises was $6000 after considering the Sure Clean bid and

the extent to which the defendants had cleaned up the property. The court did not reference any

other expenses the plaintiff might have incurred, and the record before us is devoid of any

indication that the plaintiff ever asked the court to consider such expenses.

¶ 82   The purpose of a damage award in civil litigation is to make the plaintiff whole. Mulligan

v. QVC, Inc., 382 Ill. App. 3d 620, 629 (2008). As such, a plaintiff must prove it incurred the

requested damages. See Stein, 6 Ill. 2d at 240. Here, the plaintiff acknowledged at trial that it did

not and would not incur the cost of hiring Sure Clean to clean up any portion of the premises. It

also acknowledges as much on appeal. Because the court based its damage award for the cost of

cleanup on evidence of a cost the plaintiff acknowledges it did not and will not incur, we find that

the award is against the manifest weight of the evidence. We therefore reverse that portion of the

court’s judgment.

¶ 83                                 III. CONCLUSION

¶ 84   For the foregoing reasons, we grant the defendants’ motion to strike portions of the

plaintiff’s brief. We reverse the portion of the trial court’s judgment awarding damages for cleanup

of the premises. We affirm the judgment in all other respects.



¶ 85   Affirmed in part and reversed in part; motion to strike granted.




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